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               EXHIBIT 15
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                GOOGLE


                Google's Home Max Goes After
                HomePod With a Big Ass Sonos
                Clone
                           Adam Clark Estes
                           10/04/17 12:51pm




                Most people thought Google’s big event would be sort of lame, since
                all of the new products got leaked. And then, at the tail end of the
                Google Home announcement, the thump of a bass showed up. Meet


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                the Google Home Max.


                Google Home Max is a smart speaker with better sound than the
                standard Google Home. The company really emphasized the new
                hardware’s bass, while also highlighting some neat software features
                that made it easier to play music as well as its Google Assistant
                features. Essentially, you can say, “Hey Google, play that song that
                has that has this lyric.” And the speaker will play it. Then there was a
                Diplo video—again, doubling down on bass capabilities of the Google
                Home Max.



                                     Acoustically
                                     transparent fabric   Dual 4.5"
                                                          high-excursion                           Rigid
                                                          woofers                                  polycarbonate
                                                                           Custom OT               housing
                                                                           tweeters


                                                                                 Acoustic brace




                                                                                                                        G
                                                                                                                   #madebygoogle




                Inevitably, Google’s new smart speaker (emphasis on the speaker) is a
                clear competitor to Apple’s forthcoming HomePod. Both smart
                speakers promise high-quality audio and feature voice-controlled
                assistants. Google is doubling down on bass, while Apple is just being
                Apple and saying it’s awesome. And, of course, Sonos is somewhere in




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                the back of the room stomping its feet, since it launched a smart
                speaker just hours before the Google event. Which one is better? We’ll
                see when we test them.


                It’s also hard not to see the device as something of a jab at Sonos.
                After all the thing as a not-so-subtle copy of the Play:5 speaker, down
                to the ability to use it in both vertical and horizontal orientations.


                The new Google Home Max will go on sale in Decermber for $400. It
                comes in chalk and charcoal. It honestly looks pretty cool.




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                ra
                Sonos Play:5 Review:
                                                           ra
                                                           The Sonos Smart Speaker Is
                                                                                             ra
                                                                                             Apple's New HomePod
                Wireless Music Made                        Finally Here                      Looks Fine as Hell
                Elegant



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